                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                           )
                                                    )
   WILLIAM BARRIER ROBERTS,                         ) CASE NO. 18-83442-CRJ11
   SSN: XXX-XX-9314                                   CHAPTER 11
                                                    )
       Debtor.                                      )
                                                    )

             EMERGENCY MOTION FOR AUTHORITY TO SELL DEBTOR’S
                   THIRTY-THREE AND ONE-THIRD PERCENT
                      MEMERSHIP INTEREST IN RBO, LLC

        COMES NOW William Barrier Roberts (“Debtor”), by and through undersigned counsel,

 and hereby moves this Court (the “Motion”) for an entry of an Order authorizing Debtor to sell his

 thirty-three and one-third percent (33%) membership interest in RBO, LLC, including all rights,

 claims and benefits appertaining to the assets of the company, payment streams, and all files,

 documents, writings and other materials with respect thereto, free and clear of all liens, to Roscoe

 Roberts. This application is made pursuant to 11 U.S.C. § 363(b) and Bankruptcy Rule 6004. In

 support hereof, Debtor states as follows:

                                         INTRODUCTION

        1.       On November 16, 2018 (the “Petition Date”), Debtor filed a petition for Chapter 11

 bankruptcy commencing the above-captioned bankruptcy case.

        2.       At the time of the filing of the petition Debtor had a one-third interest in RBO, LLC.

        3.       RBO, LLC is an Alabama Limited Liability Company in good standing.

        4.       Debtor has entered into an Assignment of Interest in Limited Liability Company

 (the “Assignment”) to sell his thirty-three and one-third membership interest (the “Property”) to

 Roscoe Roberts for the sum of Sixty Thousand and NO/100 Dollars ($60,000.00). Debtor believes




Case 18-83442-CRJ7         Doc 263    Filed 12/09/19 Entered 12/09/19 10:54:44              Desc Main
                                     Document     Page 1 of 8
 the price provided for in the Assignment is reasonable and represents fair value for the Property to

 be sold in this circumstance.

        5.      Debtor believes it is in the best interest of the estate and its creditors that the estate

 sell his interest in the Property to Roscoe Roberts pursuant to the terms of the Assignment attached

 hereto as Exhibit A.

        6.      Any person objecting to the validity, proprietary, or legality and/or having any

 objection of any kind to the sale as described herein shall file a written objection to the sale on or

 before five (5) business days before the date set for the hearing on this Motion and simultaneously

 serve copies on the attorney for the Debtor at the address listed in this Motion and the Trustee, in

 accordance with Fed. R. Bankr. P. 6004(b).

        WHEREFORE, Debtor requests that this Court enter an Order Confirming Sale of the

 Property as set forth above, that Debtor be authorized to take such steps, make such payments, and

 execute such documents as reasonably necessary to implement and effectuate said sale, and that

 the Court grant such further relief as may be just and equitable under the circumstances.

        Respectfully submitted this the 9th of December, 2019.

                                                        /s/ Stuart M. Maples
                                                        STUART M. MAPLES (ASB-1974-S69S)

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com




Case 18-83442-CRJ7        Doc 263     Filed 12/09/19 Entered 12/09/19 10:54:44                 Desc Main
                                     Document     Page 2 of 8
                                 CERTIFICATE OF SERVICE
        I do hereby certify that on December 9, 2019, a copy of the foregoing document was
 served on the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 richard_blythe@alnba.uscourts.gov

 All parties requesting notice via CM/ECF

         I do hereby certify that on December 9, 2019, a copy of the foregoing document was served
 on the following by mailing a copy of the same United States Mail, properly addressed and first-
 class postage prepaid.

 Roscoe Roberts
 c/o L. Franklin Corley IV
 SIROTE & PERMUTT , PC
 305 Church Street, Suite 800
 Huntsville, AL 35801

 Via U.S. Mail to all creditors on matrix


                                                            /s/ Stuart M. Maples
                                                            STUART M. MAPLES




Case 18-83442-CRJ7        Doc 263    Filed 12/09/19 Entered 12/09/19 10:54:44           Desc Main
                                    Document     Page 3 of 8
                                                                             EXHIBIT A

 STATE OF ALABAMA               )

 COUNTY OF MADISON              )

           ASSIGNMENT OF INTEREST IN LIMITED LIABILITY COMPANY

        THIS ASSIGNMENT OF INTEREST IN LIMITED LIABILITY COMPANY (the
 “Assignment”) is made, entered into and effective as of the 12th day of November, 2019, by and
 between Bill Roberts (the “Assignor”) and Roscoe Roberts (the “Assignee”).

                                        W I T N E S S E T H:

       WHEREAS, the limited liability company, RBO, LLC (the “LLC”), was organized on
 October 21, 2011; and

        WHEREAS, Assignor, Assignee, and Owen Roberts are the current members of the LLC,
 and

         WHEREAS, Assignor currently owns a Thirty-Three and One-Third Percent (33.33%)
 interest in the LLC; and

          WHEREAS, Assignor desires to transfer and convey the Thirty-Three and One-Third
 Percent (33.33%) interest in the LLC (hereinafter referred to as the “Membership Interest”) to
 Assignee, and Assignee desires to accept the Membership Interest. Assignee agrees to be bound
 by all terms and conditions of the Operating Agreement.

         1.        NOW, THEREFORE, for payment of Sixty Thousand and no/100 dollars
 ($60,000.00) and other good and valuable consideration the receipt and sufficiency of which is
 acknowledged by Assignor and in consideration of the above premises and the mutual covenants
 of the parties, the Assignor does hereby sell, assign, transfer, and set over unto Assignee all of
 his rights, title and interest in and to the Membership Interest, free and clear of all claims, liens,
 charges or encumbrances of any kind. Assignee does hereby accept the transfer of the
 Membership Interest.

        2.      This Assignment shall be binding upon and shall inure to the benefit of the
 successors in interest, assigns and heirs (if applicable) of each of the parties hereto.

         3.      The Assignor, for himself and his heirs successors and assigns forever, does
 hereby represent and warrant to the Assignee that the title conveyed hereby to the Membership
 Interest is good, its transfer is rightful, and the Membership Interest is delivered hereby free from
 any security interest or other lien or encumbrance.

        4.     The construction, validity and enforcement of this Assignment shall be
 determined according to the laws of the State of Alabama.

         5.     This Assignment may be executed in any number of counterparts, each of which
 shall be considered to be an original instrument.




Case 18-83442-CRJ7        Doc 263     Filed 12/09/19 Entered 12/09/19 10:54:44              Desc Main
                                     Document     Page 4 of 8
                                                                          EXHIBIT A

        IN WITNESS WHEREOF, the undersigned have executed this Assignment on this the
 day and year first written above.

                                                    ASSIGNOR:


                                                    ____________________________________
                                                    ____
                                                    Bill Roberts



                                                    ASSIGNEE:


                                                    ____________________________________
                                                    Roscoe Roberts




     I, Owen Roberts, do consent to the assignment as set forth herein.


     _____________________________
     Owen Roberts




                                               2

Case 18-83442-CRJ7      Doc 263    Filed 12/09/19 Entered 12/09/19 10:54:44     Desc Main
                                  Document     Page 5 of 8
Label Matrix for local noticing         Bullet & Barrel, LLC                  Callahan PC
1126-8                                  612 Eustis Avenue                     301 Washington St. Ste 301
Case 18-83442-CRJ11                     Huntsville, AL 35801-4114             Huntsville, AL 35801-4892
NORTHERN DISTRICT OF ALABAMA
Decatur
Mon Dec 9 10:41:27 CST 2019
First National Bank of Pulaski          PRA Receivables Management, LLC       SPECIALIZED LOAN SERVICING LLC
206 South 1st Street                    PO Box 41021                          8742 Lucent Blvd, Suite 300
Pulaski, TN 38478                       Norfolk, VA 23541-1021                Highlands Ranch, CO 80129-2386



SmartBank                               U. S. Bankruptcy Court                *Alabama Department of Revenue
c/o Justin B. Little                    400 Well Street                       PO Box 327483
REYNOLDS, REYNOLDS & LITTLE, LLC        P. O. Box 2775                        Montgomery, AL 36132-7483
Post Office Box 2863                    Decatur, AL 35602-2775
Tuscaloosa, AL 35403-2863

*American Express                       *Belk/Synchrony Bank                  *GMFS LLC c/o SLS
PO Box 981535                           PO Box 530940                         8742 Lucent Blvd., Ste 300
El Paso, TX 79998-1535                  Atlanta, GA 30353-0940                Highlands Ranch, CO 80129-2386



*Home Depot                             *Internal Revenue Service             *North Alabama Bank
PO Box 790328                           Centralized Insolvency Operations     PO Box 669
Saint Louis, MO 63179-0328              PO Box 7346                           Hazel Green, AL 35750-0669
                                        Philadelphia, PA 19101-7346


*Redstone Federal Credit Union          716 Harding Way SE                    American Express National Bank
220 Wynn Dr.                            c/o Kevin C. Gray                     c/o Becket and Lee LLP
Huntsville, AL 35893-0001               Bradley Arant Boult Cummings LLP      PO Box 3001
                                        200 Clinton Avenue W, Suite 900       Malvern PA 19355-0701
                                        Huntsville, AL 35801-4933

Bullet & Barrel, LLC                    Charlotte Schlittler                  David R. Beasley
c/o Melanie Murray                      c/o Kevin Gray, Esq.                  655 Gallatin Street
612 Eustis Ave                          Bradley Arant Boult Cummings, LLP     Huntsville, Alabama 35801-4936
Huntsville, AL 35801-4114               200 Clinton Avenue West, Ste. 900
                                        Huntsville, Alabama 35801-4933

Dr. Rhett Blake Murray                  First National Bank                   GMFS LLC
612 Eustice Ave                         2101 Clinton Avenue, Suite 101        c/o Specialized Loan Servicing LLC
Huntsville, AL 35801-4114               Huntsville, Alabama 35805-3093        8742 Lucent Blvd, Suite 300
                                                                              Highlands Ranch, Colorado 80129-2386


Internal Revenue Service                Jayna P. Lamar                        Joyce White Vance
P.O. Box 7346                           1901 Sixth Avenue North               US Attorney General
Philadelphia, PA 19101-7346             2400 Regions/Harbert Plaza            1801 4th Ave North
                                        Birmingham, AL 35203                  Birmingham, AL 35203-2101


Loretta Lynch US Attorney General       Luther Strange                        Melanie Murray
US Dept. of Justice                     Alabama Attorney General              612 Eustis Ave
950 Pennsylvania Ave NW                 PO Box 300152                         Huntsville, AL 35801-4114
Washington, DC 20530-0009               Montgomery, AL 36130-0152

             Case 18-83442-CRJ7     Doc 263    Filed 12/09/19 Entered 12/09/19 10:54:44       Desc Main
                                              Document     Page 6 of 8
North Alabama Bank                                   Secretary of the Treasury                            (p)SMARTBANK
220 Providence Main                                  1500 Pennsylvania Ave., NW                           ATTN LYNN VANDERGRIFF - SPECIAL ASSETS
Huntsville, AL 35806-4831                            Washington, DC 20220-0001                            6413 LEE HIGHWAY
                                                                                                          SUITE 107
                                                                                                          CHATTANOOGA TN 37421-4860

State of Alabama                                     Synchrony Bank                                       U.S.Securities & Exchange Commission
Department of Revenue Legal Division                 c/o PRA Receivables Management, LLC                  Reg Director,Branch of Reorganization
PO Box 320001                                        PO Box 41021                                         Atlanta Regional Office,
Montgomery, AL 36132-0001                            Norfolk VA 23541-1021                                Suite 900 950 East Paces Ferry Road
                                                                                                          Atlanta, GA 30326-1382

United States Attorney                               United States Bankruptcy Administrator               Walter A. Dodgen
Northern District of Alabama                         Northern District of Alabama                         655 Gallatin Street
1801 Fourth Avenue North                             1800 Fifth Avenue North                              Huntsville, Alabama 35801-4936
Birmingham, AL 35203-2101                            Birmingham, AL 35203-2111


Blake Cantrell                                       Charlotte Bentley Schlittler                         David R. Beasley
Caldwell Banker of the Valley                        c/o Kevin Gray                                       655 Gallatin Street
7027 Old Madison Pike Suite 102                      200 Clinton Ave W                                    Huntsville, AL 35801-4936
Huntsville, AL 35806-2369                            Suite 900
                                                     Huntsville, AL 35801-4933

Jayna Partain Lamar                                  Melanie Hammer Murray                                Rhett Murray
Maynard, Cooper & Gale, P.C.                         612 Eustis Avenue                                    612 Eustis Avenue
1901 Sixth Ave North                                 Huntsville, AL 35801-4114                            Huntsville, AL 35801-4114
Suite 2400
Birmingham, AL 35203-4604

Richard M Blythe                                     Shannan League Roberts                               Stuart M Maples
United States Bankruptcy Administrator               c/o Kevin Gray                                       Maples Law Firm
PO Box 3045                                          200 Clinton Ave W                                    200 Clinton Ave. West, Ste. 1000
Decatur, AL 35602-3045                               Suite 900                                            Huntsville, AL 35801-4919
                                                     Huntsville, AL 35801-4933

Stuart M Maples                                      Walter A Dodgen                                      William Barrier Roberts
Maples Law Firm, PC                                  655 Gallatin Street                                  2115 Big Cove Rd
200 Clinton Avenue W.                                Huntsville, AL 35801-4936                            Huntsville, AL 35801-1347
Suite 1000
Huntsville, AL 35801-4919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Smart Bank
PO Box 1910
Pigeon Forge, TN 37868




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

             Case 18-83442-CRJ7              Doc 263      Filed 12/09/19 Entered 12/09/19 10:54:44                        Desc Main
                                                         Document     Page 7 of 8
(u)NORTH ALABAMA BANK                 (u)*Citibank                          (d)PRA Receivables Management, LLC
                                      PO Box 790046                         PO Box 41021
                                      MO 63170                              Norfolk, VA 23541-1021



End of Label Matrix
Mailable recipients     50
Bypassed recipients      3
Total                   53




             Case 18-83442-CRJ7   Doc 263    Filed 12/09/19 Entered 12/09/19 10:54:44       Desc Main
                                            Document     Page 8 of 8
